Case 1:20-cv-04662-HG-PK Document 50 Filed 05/13/22 Page 1 of 2 PageID #: 437




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
                                                             :
 KALMAN ROSENFELD, individually and                          :
 on behalf of all others similarly situated,                 :      No.: 1:20-cv-04662-HG-PK
                                                             :
                                     Plaintiff,              :
                                                             :       MOTION FOR LEAVE
                           v.                                :        TO WITHDRAW
                                                             :
 AC2T, INC.                                                  :
                                                             :
                                   Defendant.                :
                                                             :
---------------------------------------------------------x


        Pursuant to Local Civil Rule 1.4 of the United States District Court for the Eastern

District of New York, Defendant AC2T, Inc. (“AC2T”) respectfully requests that this Court

grant Anna G. Dimon of the law firm of Venable LLP leave to withdraw her appearance as

attorney of record in the above-captioned action. AC2T continues to be represented by Edward

P. Boyle of Venable LLP.

        WHEREFORE, AC2T respectfully requests that the Court grant Anna G. Dimon leave to

withdraw as attorney of record in this action. A [Proposed] Order accompanies this filing.


Dated: New York, New York
May 12, 2022
                                                     VENABLE LLP



                                                     By: /s/ Edward P. Boyle______________
                                                           Edward P. Boyle
                                                     1270 Avenue of the Americas
                                                     New York, NY 10020
                                                     Tel: 212-808-5675
                                                     epboyle@venable.com

                                                     Attorneys for AC2T, Inc.
Case 1:20-cv-04662-HG-PK Document 50 Filed 05/13/22 Page 2 of 2 PageID #: 438




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
                                                             :
 KALMAN ROSENFELD, individually and                          :
 on behalf of all others similarly situated,                 :   No.: 1:20-cv-04662-HG-PK
                                                             :
                                     Plaintiff,              :
                                                             :
                           v.                                :
                                                             :
 AC2T, INC.                                                  :
                                                             :
                                   Defendant.                :
                                                             :
---------------------------------------------------------x

        [PROPOSED] ORDER GRANTING MOTION FOR LEAVE TO WITHDRAW

        Upon consideration of the Motion for Leave to Withdraw as Counsel, and for good cause

shown, it is HEREBY ORDERED THAT Anna G. Dimon of Venable LLP is hereby withdrawn

as counsel of record for Defendant AC2T, Inc. The Clerk of the Court is directed to remove this

attorney from the docket as well as the ECF Service List.



IT IS SO ORDERED.

Dated: ___________________                           _____________________________
                                                     THE HONORABLE HECTOR GONZALEZ
                                                     UNITED STATES DISTRICT JUDGE
